          Case 1:23-cr-00021-CKK Document 19 Filed 03/01/23 Page 1 of 1




                          THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
                                              :
                                              :       CRIMINAL NO. 23-cr-21 (CKK)
               v.                             :
                                              :
CHARLES F. MCGONIGAL,                         :
                                              :
                                              :
             Defendant.                       :
                                              :
                                              :

                                 NOTICE OF APPEARANCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully notifies the Court and the parties of the entry of appearance

of Michael J. Friedman, representing the United States.



                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar # 481052

                                      By:            /s/Michael J. Friedman
                                                      Michael J. Friedman
                                                      Assistant United States Attorney
                                                      N.Y. Bar # 4297461
                                                      United States Attorney=s Office
                                                      601 D Street, NW
                                                      Washington, DC 20530
                                                      (202) 252-6765
